Case 1:01-cv-12257-PBS Document 1772-6 Filed 10/12/05 Page 1 of 26

Pfizer arontin
Pfizer Zithromax
Pfizer Zoloft
Pfizer Zyrtec
Pharmacia Adriamycin PFS
Pharmacia Adriamycin RDF
Pharmacia Adrucil
‘(Pharmacia Amphocin
Pharmacia (Amphotercin B
[Pharmacia Bleomycin Sulfate
Pharmacia ‘ Celebrex
Pharmacia , Cleocin-T
Pharmacia (Cytarabine (Cytosar-U)
Pharmacia Depo-Testosterone |
Pharmacia Etoposide
Pharmacia INeosar
Pharmacia Solu-Cortef
Pharmacia '__ {Solu-Medrol
Pharmacia ‘Toposar
Pharmacia Vincasar PFS
Schering Clarinex
ochering Claritin
Schering Claritin-D
Schering _*_ [Diprolene
Schering Diprolene AF
Schering Diprosone -
Schering Elocon
Schering : Eulexin
Schering Integrilin
Schering Lo Intron-A
Schering ' (Lotrisone
ochering ° INasonex
Schering Peg-Intron *
Schering Proventil —
Schering Rebetol -
Schering _ Sebizon
Schering TTemodar
Schering - {Trinalin Rep
Schering Vanceril
Warrick Albuterol
Warrick Clotrimazole
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Case 1:01-cv-12257-PBS Document 1772-6 Filed 10/12/05 Page 2 of 26

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Warrick Griseofulvin, Ultramicrocry

Warrick ISMN

Warrick _ JOxaprozin

Warrick ° Perphenazine

Warrick Potassium Chloride

Warrick Sodium Chloride

Warrick Sulcrafate Tablets

Warrick . Theaphylline _

Sicor Acyclovir Sodium

Sicor Amikacin Sulfate

Sicor Doxorubicin

Sicor Etoposide -

Sicor Leucovorin Calcium

Sicor Pentamidine Isethionate

Sicor [Tobramycin Sulfate

TAP Prevacid

Watson — Dexamethasone Acetate8

Watson Dexamethasone Sodium Phosphate
" Watson . [Diazepam

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iWatson Ferrlecit

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Watson Propranolol

Watson ___ {Ranitidine

Watson Vancomycin HCL

Watson Verapamil HCL

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Case 1:01-cv-12257-PBS Document 1772-6 Filed 10/12/05 Page 3 of 26

* UNITED STATES DISTRICT Cc ;f DISTRICT OF MINNESOTA ,
Index No. 01-12257-PBS

In re: PHARMACEUTICAL INDUSTRY AVERAGE WHOLESALE PRICE LITIGATION
, Plaintif£(s)
- against -

» Defendant (s)

State of Washington DC )}
} ss.:
County of District of Columbia )

AFFIDAVIT OF SERVICE

Brandon Snesko being duly sworn, deposes and says
that he is over the age of 18 years; is not a party to this action and resides”
within the State of Washington DC. That on 04/09/2004 at 12:10 PM at:
United Healthcare c/o The Groom Law Group —
1701, Pennsylvania Avenue N.W.
Washington Pc 20006
DPeponent served the:

SUBPOENA IN 3 CIVIL CASE
on tMnited Healthcare c/o The Groom Law Group

a domestic and/or foreign corporation

by delivering thereat a true copy to Jason Ehrenbert

personally, deponent knew said corporation so served to be the corporation,
deseribed in same as said recipient and knew said individual to be the
Attoxney and who stated that they were

authorized to accept service thereof.

Deponent describes the individual served as follows:
AGE: 37 HEIGHT: 5'7'' WEIGHT: 190 HAIR: BROWN RACE: WHITE SEX: MALE

License #NONE

SWORN TO BESORE ME 4/0] oH OUR pocg 1580
! — Patterson, Belknap, Webb & Tyler LLP

On oAQn 1133 Avenue of the Americas
. New York NY 10036
Angela H¥Croson 212-336-2000

Notary Publle, District of Columbia
My Commission Expires 3-31-2009
Case 1:01-cv-12257-PBS Document 1772-6 Filed 10/12/05 Page 4 of 26

Exhibit 2
Case 1:01-cv-12257-PBS Document 1772-6 Filed 10/12/05 Page 5 of 26

Exhibit B

UNITED STATES DISTRICT COURT
. DISTRICT OF MASSACHUSETTS

IN RE PHARMACEUTICAL INDUSTRY

)

} MDL No. 1456
AVERAGE WHOLESALE PRICE )
LITIGATION ) Civil Action No,

) 01-CV-12257-PBS
THIS DOCUMENT RELATIONS TO ALL )
ACTIONS } Judge Patti B. Saris

)

[PROPOSED] ORDER DENYING PLAINTIFFS’
MOTION FOR A PROTECTIVE ORDER REGARDING
SUBPOENAS TO PUTATIVE S MEMBERS

For the reasons stated in open Court at the Status Conference on March 8, 2004,
Plaintiffs’ Motion for a Protective Order Regarding Subpoenas to Putative Class Members

[Docket No. 632] hereby is DENIED.

apa CPx BS \ouw

The Honorable Patti B. Saris

FHBoston-#1033361-v)-Request_ for_Orderx_on_Protective_Oxdez.DOC ’ 4-

Case 1:01-cv-12257-PBS Document 1772-6 Filed 10/12/05 Page 6 of 26

Exhibit 3
Case 1:01-cv-12257-PBS Document 1772-6 Filed 10/12/05 Page 7 of 26

Patterson Belknap Webb « Tyler u-

1133 Avenue of the Americas New York, NY 10036-6710 212.336.2000 fax 212.336.2222 wwwpbwi.com

Jessica Golden Cortes
(212) 336-2017

.May 27, 2005 Direct Fax (212) 336-7901
jgcortes@pbwt.com

By Email Attachment

Michael Prame, Esq.

The Groom Law Group

1701 Pennsylvania Avenue, N.W.
Washington, D.C. 20006

Re: Inre Pharmaceutical Industry AWP Litigation

Dear Mike:

Per your request, this letter summarizes United Healthcare’s outstanding
discovery pursuant to defendants’ third party subpoena in the AWP Litigation. Defendants have
revised and significantly paired down the categories of remaining outstanding discovery sought
to facilitate a timely production and to avoid unduly burdening your client. As previously
discussed, for purposes of these revised requests, unless otherwise stated, the relevant time
period at issue is 1997 to 2002:

1. To the extent not previously produced, all documents reflecting United Healthcare’s
understanding of whether health care providers earn a margin on drugs administered.

2. All documents concerning the relative reimbursement or costs for injected or infused
drugs (and related treatments or therapies) in the hospital (in or outpatient setting) as
compared to in physicians’ offices, including United Healthcare’s business and strategic
plans addressing the optimal site of care for the administration of oncology drugs.

3. To the extent not previously produced, a representative sample of physician
reimbursement contracts from your client’s showing the various methodologies United
Healthcare utilized, and the various levels of reimbursement United Healthcare afforded,
for the reimbursement of physician-administered drugs.

A. In an effort to allay your previously asserted concerns regarding anticipated costs
and required employee time, defendants are willing to limit this request to a
production from one major east coast market of United Healthcare and one major
west coast market. The determination of the appropriate markets would be
determined jointly by United Healthcare and defendants, and agreement to this
limitation is contingent upon prompt production.

4. . All schedules disclosing the amounts reimbursed to particular physicians for services
rendered and drugs administered (i.e., physician “fee schedules”) and documents
Case 1:01-cv-12257-PBS Document 1772-6 Filed 10/12/05 Page 8 of 26

Michael Prame, Esq.
May 27, 2005
Page 2

detailing how those schedules were calculated or derived. To the extent the fee schedules
differ from the electronic schedules or tables used to generate the actual reimbursement
amounts paid to physicians, produce all such schedules and tables.

5. All rebate reports or other documentation showing the rebates paid by pharmacy benefit
managers or pharmaceutical manufacturers to United Healthcare.

6. . Medical Claims Data from 1997 to the present, including claims submitted by hospitals
and physician offices.

A. This data should include a field that explains the type of payment methodology
utilized to reimburse for a particular claim (e.g., U&C, AWP-based, capitation).

B. As we briefly discussed earlier on in these negotiations, please describe how the
data is maintained and the estimated cost of retrieval prior to production of the
requested data.

C. In a further effort to allay your previously asserted concems regarding anticipated
costs and required employee time, defendants are again willing to limit this
request to data from one major east coast market and one major west coast
market, again, to be determined jointly by United Healthcare and defendants, and
again, contingent upon prompt production.

7. Claims processing manuals corresponding to data produced.
8. MAC Lists pertaining to retail pharmacy reimbursement for generic drugs.

9. To the extent not previously produced, all documents your client produced in any other
litigation, government investigation or inquiry related to the use of AWP in Medicare,
Medicaid or private reimbursement.

Please also identify witness(es) qualified to testify regarding the substance of the
above-requested documents and data, and advise me of when in the coming month the
witness(es) will be available for deposition(s). I look forward to working with you to achieve a
swift resolution of outstanding production issues. Please contact me with any questions.

Very truly yours,

Jessica Golden Cortes

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Case 1:01-cv-12257-PBS Document 1772-6 Filed 10/12/05 Page 9 of 26

Exhibit 4
Case 1:01-cv-12257-PBS Document 1772-6 Filed 10/12/05 Page 10 of 26

Mangi, Adeel A. (x2563)

From: Mangi, Adeel A. (x2563)

Sent: Friday, September 16, 2005 8:12 PM
To: ‘mjp@groom.com'

Subject: RE: Golden Rule and United

Mike: Further to my email of the 13th (below), attached are (draft) copies of the motion to compel papers we plan to file
against your clients United and Golden Rule on September 21. We are hereby seeking a meet and confer prior to filing
that motion. If you would like to hold such a conference and discuss these issues, please let us know by 3 pm on the 2'st,
failing which we will make our filing. Separately, | received the mail version of your fetter today but it was missing the
enclosure (golden rule objections). Please resend those (email pdf is fine). .

Regards
Adee!
-----Original Message---—-
From: Mangl, Adeet A. (x2563)
Sent; Tuesday, September 13, 2005 5:13 PM
To: '‘mjp@groom.com'
Subject: Golden Rule and United
Mike:

Thank you for your letter of today regarding Golden Rule. | am looking into whether objections were previously
received at this firm, and will review them when your letter arrives by mail with the enclosure. In any event, |
understand you now represent both Golden Rule and United and will be adopting similar positions for both on
substantive issues. We are currently preparing a motion to compel against United based on your positions to date and
will fold Golden Rule into that discussion. We will send you a draft once the papers are complete. We can then hold a
Rule 7.1 discovery conference and proceed with filing the motion if needed.

As to specific point you raise in your letter, please be advised that your contention regarding CMO 13 is incorrect.
That schedule is for track 1 defendant discovery. It does not apply to discovery from third parties. Indeed, such
discovery is continuing. Please let us know if you have a basis for believing otherwise, so we can include that issue in
the motion papers as needed.

Adeel Abdullah Mangi

Patterson, Belknap, Webb & Tyler LLP
1133 Avenue of the Americas

New York, NY 10036

Ph: (212) 336 2563

Fax: (212) 336 7947

aamangi@pbwt.com ‘
Hn)

BRIEF_ United and Haas Declaration in MOTION_ United
Golden Rule ... Support of... and Golden Rule...
Case 1:01-cv-12257-PBS Document 1772-6 Filed 10/12/05 Page 11 of 26

Exhibit 5
Case 1:01-cv-12257-PBS Document 1772-6 Filed 10/12/05 Page 12 of 26

Mangi, Adee! A. (x2563)

From: Mangi, Adeel A. (x2563)
_ Sent: Friday, September 30, 2005 1:03 PM
To: Michael Prame (mjp@groom.com)
Subject: United and Golden Rule

Mike: Please see attached letter.

united.pdf (155 KB)

Adeel Abdullah Mangi

Patterson, Belknap, Webb & Tyler LLP
1133 Avenue of the Americas

New York, NY 10036

Ph: (212) 336 2563

Fax: (212) 336 7947
aamangi@pbwt.com
Case 1:01-cv-12257-PBS Document 1772-6 Filed 10/12/05 Page 13 of 26

Patterson Belknap Webb « Tyler u-
1133 Avenue of the Americas New York, NY 10036-6710 212.338.2000 fax 212.336.2222 wow pbwtcom

Adeel A. Mangl
September 30, 2005 or 2) 380 5 ae

Dhact Fax (212) 336-7947
By Email Attachment aamangl@pbwtcom
Michael Prame, Esq.
Groom Law Group
1701 Pennsylvania Ave., N.W.

Washington, D.C. 20006-5811

Re: In Re AW? Litigation
Dear Mike:

We are writing fimther to our conversation of September 23, 2005 to provide some
of the additional information you requested.

(1) MAC Lists

You asked us to check whether defendants’ have already obtained United’s MAC
lists through discovery from PBMs. We checked with counsel coordinating that discovery, who
informs us that United’s MAC lists were not produced.

(2) Claims Data

In your July 12, 2005 letter you represented that United’s claims data is housed on
the “Galaxy” system and provided the following estimates for collection:

e For data from May 1, 2002 to December 31, 2003 - $19,750 (current system)
e For data from August 1998 to April 30, 2002: $30,500 (data archived on tape)
© For data from January 1, 1997 to July 30, 1998: $26,500 (archived on older system)

Based on these estimates, defendants will seek production of the data for the
period August 1998 to April 30, 2002 only. Please provide us with a list of data fields available
for pre-coliection analysis to ensure that all relevant data is collected and produced in an efficient
manner. Please also clarify whether the “Galaxy” system incorporates data from “Inginex” and
if not, what data is available from Inginex,

(3) Deposition Topics

You stated that United has no objection in principle to the production of a
deposition witness but were concerned that the list of deposition topics would require the
production of too many witnesses. You asked that defendants again try to focus the list of topics
Case 1:01-cv-12257-PBS Document 1772-6 Filed 10/12/05 Page 14 of 26

Michael Prame, Esq.
September 30, 2005
Page 2

on which deposition testimony is sought to facilitate the production of witnesses. To that end,
we have revised and further focused the list of deposition topics originally sent to you by Jessica
Cortes. We will reissue the deposition subpoena listing these topics if you request, otherwise
these are incorporated by reference as issued at your request.

As I stated during our call, the vast majority of subpoenaed health plans have
previously responded to a much broader list of areas of inquiry through the production of one or
two witnesses and the court has found that the production of witnesses on even that broader list
of topics is not burdensome. The appropriate witness on the medical side is generally a senior
executive with responsibility for contracting negotiations with providers. Defendants reserve the
right to seek witnesses to testify on issues pertaining to self administered drugs should an appeal
change the current case posture. .

(4) Golden Rule

Finally, as to Golden Rule Insurance Co., you represented during our call that
Golden Rule had no responsive documents to the subpoena and agreed to state Golden Rule’s
position in writing with reference to each specific document production category. We look
forward to receiving that letter, after which we can decide how to proceed with regard to Golden
Rule on the document requests and deposition subpoena.

* ie *

” As discussed during our call, defendants continue to call for the collection of all
other documents identified in our letter of May 27, 2005. I understand you will confirm that
production and a schedule after conferring with your client. We look forward to hearing from
you.

Sincerely,

Adeel A. Mangi

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Case 1:01-cv-12257-PBS Document 1772-6 Filed 10/12/05 Page 15 of 26

Michael Prame, Esq.
September 30, 2005
Page 3

AREAS OF INQUIRY

Benchmarks and Reimbursement

1. Your understanding, use, and knowledge of the terms “Average Wholesale Price,”
“AWP,” “Wholesale Acquisition Cost,” or “WAC.”

2. All methodologies (¢.g., capitation, usual and customary charges, AWP-based formula, or
use of specialty pharmacies) you utilized or considered utilizing to determine the amounts to pay
or reimburse health care providers (e.g., doctors, hospitals, clinics) for drugs administered in
physician’s offices or hospitals, including the extent to which any reimbursements are tied to the
AWPs of specific drugs.

3. All rationales, information, and factors considered by you in deciding whether or not to
pay a separate administration fee in addition to the price of the drug itself.

4, Whether and to what extent you provide different reimbursement rates for subject drugs

when they are administered in providers’ offices rather than in hospitals, including your rationale
for doing so or not doing so, and including any studies or analysis you have made conceming the
relatives costs of the administration of subject drugs in providers’ offices rather than in hospitals.

Negotiations with Providers

5. Whether and to what extent you set drug reimbursement for drugs administered and
dispensed based on competitive negotiations with health care providers,

6. The substance of such negotiations, including whether and to what extent they expressly
dealt with a distinction between the reimbursement of the drug itself and the reimbursement for
the medical provider’s administration services, or referenced Medicare reimbursement rates.

Information Regarding Margins

7. Your understanding, knowledge and expectations (if any) of whether health care
providers earn a margin on drugs administered, including whether such a margin depended, in
part, on the difference between the reimbursement you paid and the actual acquisition costs for
the drugs, net of any incentives provided by the drug manufacturers, and the effect Gf any) of
such knowledge on the setting of reimbursement rates.

8. Your knowledge and understanding of whether any administration fees you reimbursed to
providers were sufficient to cover the-provider’s costs in administering the corresponding drugs.

9, Your understanding and knowledge of whether drug manufacturers provided health care
providers with discounts, rebates and other incentives that were not reported in pricing
compendia or otherwise disclosed to the public, including whether or not the published AWP
was adjusted to account for these discounts, rebates and other incentives.

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Michael Prame, Esq.
September 30, 2005
Page 4

10. Your knowledge of government studies, reports, and communications concerning actual .
acquisition costs for drugs.

Documents Produced

11. All documents produced in response to defendants’ subpoena, including whether such
documents are authentic within the meaning of Rule 901 of the Federal Rules of Evidence, and
Records of Regularly Conducted Activity within the meaning of Rule 803(6) of the Federal
Rules of Evidence.

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Case 1:01-cv-12257-PBS Document 1772-6 Filed 10/12/05 Page 17 of 26

Exhibit 6
Case 1:01-cv-12257-PBS Document 1772-6 Filed 10/12/05 Page 18 of 26

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GROOM
LAW GROUP

www.groom.com

TO; Adeel Mangi

COMPANY: Patterson, Belknap, Webb & Tyler, LLp
FAX NUMBER: (212) 336-2222 [08040]

VOICE NUMBER:

FROM: Mike Prame

NUMBER OF PAGES: 3

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Person to contact in case of transmittal problems: Sheron Fletcher, ext. 419
(After businesy hours, please contact Groom Office Services st a e1 Set )

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NOTE:

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Case 1:01-cv-12257-PBS Document 1772-6 Filed 10/12/05 Page 19 of 26

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Michael J. Prame !
(202) 857-0620 :
mjp@groom.com

t
October 4, 2005

By Facsimile

Adeel A. Mangi, Esq. |
Patterson, Belknap, Webb & Tyler LLP |
1133 Avenue of the Americas .
New York, New York 10036-6710

Re: In re Pharmaceutical Industry Average Wholesale Price Litigation,
MDL No. 1456, Civ. No. 01-12257-PBS (U.S.D.C. D. Mass.) ;

Dear Mr, Mangi:

Thank your for September 30, 2005 letter which follows up on three ¢f the points
that we discussed during our September 23, 2005 conversation regarding the; subpoenas
served on UnitedHealthcare, Inc., United HealthCare Insurance Company, and Golden
Rule Insurance Company (“Golden Rule”). We have reviewed the issues th at we
discussed with our respective clients and provide the following responses.

With respect to the subpoenas served on UnitedHealthcare, Inc. and United
HealthCare Insurance Company (collectively “United”), it does not appear that we will
be able to reach an agreement as to the scope of additional discovery from these entities.
As you know, after more than three months of negotiations last summer regarding the
scope of the subpoenas, United produced nearly 24,000 pages of materials. United
produced everything that it had agreed to produce to Defendants during the negotiations
last year. In standing by its objections to Defendants’ continuing efforts to dbtain further

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Groom Law Group, Charteres}
1701 Pennsylvania Ave, N.W, « Washington, D.C. 20006-5811 » 202-857-0620 « Fax 202-650-4403

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Case 1:01-cv-12257-PBS Document 1772-6 Filed 10/12/05 Page 20 of 26

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Adeel A. Mangi, Esq.
October 4, 2005
Page 2

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discovery, United agrees that the parties have met and conferred in good faith regarding

the discovery dispute, but are not able to resolve their differences,

With respect to Golden Rule, we will send to you a letter formalizing IGolden

Rule’s position regarding the lack of documents responsive to Defendants’ requests. We

hope to forward the letter to you later this week.

Thank you for your consideration.
“Very truly yours,

Michael J. Hee

UADDAODVIOO4ALTR TO MANGI 10-4-05.D0C

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Exhibit 7
Case 1:01-cv-12257-PBS Document 1772-6 Filed 10/12/05 Page 22 of 26

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11/17/04

From: ECFnotice@mad.uscourts.gov

Sent: 19/2/2004 3:52:31 PM

To: CourtCopy@mad.uscourts.gov

Cc:

BCC:

Subject: Activity In Case 1:01-cv-12257-PBS Citizens for Consume, et al v. Abbott
Laboratorles,, et al "Order on Motion to Compel”

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District of Massachusetts

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The following transaction was received from Bowler, Marianne entered on 11/2/2004 at 3:52 PM
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Case Nama: Citizens for Consume, et al v. Abbott Laboratories, et al
Case Number: 1:01-cv-12257 https:/ecf.mad.uscourts.gov/cgl-bin/DktRpt.pi77695

Document Number:
Copy the URL address on the fine below into the location bar of your Web browser to view the
document:

Docket Text:

Judge Marianne B. Bowler: Electronic ORDER entered granting in part and denying in part [996)
Mation to Compe! to the extent set forth in the rulung on Docket Entry # 1088. Electronic Order
denying [1068] nonpartles’ Motion to Quash, consistent with the reasoning employed by the court
at the March 8, 2004 status conference. The nonparties are ordered to appear at the noticed
depositions which, absent an agreement among all participating entitles, shall be taken within the
next 30 days, The subject matter shall be item numbers 1-3, 5-7, 11-13, 16-17 and 20-21 as set
forth in the list attached to the August 23, 2004 letter (Docket Entry # 170, Ex. F) which reiterates
topics encompassed in the list of documents to be produced attached to the re-noticed deposition
subpoenas (Docket Entry # 1018, Ex. E-G). As agreed to in open court by defendants, they shall
pay the reasonable costs of transportation and related expenses, reasonable attorney's fees and
lost income incurred by !

witnesses. Electronic Order denying Motion to Compel [1090), in accordance with the prior ruling
of Judge Saris on April 26, 2004 (Docket Entry # 818), inasmuch as the prior motion (Docket
Entry # 632) requested an accounting of all communications between defendants and putative
Glass members and that motion was denied. (Bowler, Marianne)

The following document(s) are associated with this transaction:

1:01-cv-12257 Notice will be electronically mailed to:

Daniel F, Attridge dattridge@kirkland.com
Anita B. Bapooji bapooji@thtcom
Jessica Vincent Bamett pamett@foleyhoag.com

Steve W. Berman . steve@hagens-berman.com
Case 1:01-cv-12257-PBS Document 1772-6 Filed 10/12/05 Page 23 of 26

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11/17/04

Almee E. Blerman ablerman@ki.com
Jill Lori Brenner jlb@dcglaw.com

Douglas S. Brooks dbrooks@kihboston.com

James C. Burling James.burling@wilmerhale.com

Erie P. Christofferson echristofierson@ropesgray.com,
SamplePlead@ropesgray.com

Joanne M. Cicala Jcicala@kmslaw.com,

Toni-Ann Citera tcitera@jonesday.com

Daniel J. Cloherty dcloherty@dwyercolfora.com,
sphillips@dwyercollora.com

Jonathan D Cohen cohenjo@gtlaw.com, champagnew@gtlaw.com
Jeremy P. Cole Jpcole@jonesday.com

Robert C. Cook christophercook@jonesday.com,
tcitera@jonesday.com;jmhelm@jonesday.com

Michael R. Costa costam@gitiaw.com

Paul J. Coval picoval@vssp.com

William A. Davis wadavis@mintz.com

Michael DeMarco mdemarco@k.com

Merle M. Delancey DelanceyM@dsmo.com

Thomas E. Dwyer tdwyer@dwyercollora.com

Steven M. Edwards SMEdwards@HHlaw.com

Douglas Farquhar dbf@hpm.com

Lucy Fowler Howler@foleyhoag.com

Monica Meier Franceschini franceschini@tht.com

Brian V. Frankel Brian. Frankel@doj.ca.gov

Peter E. Gelhaar peg@dcglaw.com

Evan Georgopoulos georgopoulose@gtlaw.com, kaikaia@gtlaw.com ‘
Karen F, Green karen.green@wilmerhale.com

Gary R. Greenberg greenbergg@gtlaw.com,

champagnew@gtiaw.com;cohenjo@gtlaw.com;scerral@gtiaw.com;kaikala@gtlaw.com
Case 1:01-cv-12257-PBS Document 1772-6 Filed 10/12/05 Page 24 of 26

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Ren
at; NYDLWOY

Elizabeth |. Hack ehack@sonnenscheln.com
Joseph Emest Haviland jhaviland@dwyercollora.com
Richard C. Heidlage richard.heidlage@ago.state.ma.us

George B. Henderson george.henderson2@usdoj.gov,
Janice.zaniboni@usdoj.gov

Colleen M. Hennessey chennessey@peabodyamold.com
Andrew L. Hurst ahurst@reedsmith.com

Marisa L. Jaffe mijaffe@nixonpeabody.com

Colin R. Kass ckass@kirkland.com,
Kewing@kirkland.com;kmarch@kirkland.com:pbryan@kirkland.com

John A. Kiernan jkieman@bkte.net

Terry Klein iklein@lawik.com

Joseph L. Koclubes joe.kociubes@bingham.com

Seth B. Kosto seth.kosto@hklaw.com,
miynch@cov.com;matthew.oconnor@hktaw.com:frederick.herold@dechert.com
William F. Lee william.lee@wilmerhale.com

Ralph T. Lepore rlepore@hklaw.com

Frank A, Libby falibby@kihboston.com

James W. Matthews jwmatthews@sherin.com, jrossi@sherin.com
Kirsten V. Mayer kmayer@ropesgray.com,
SamplePlead@ropesgray.com

S. Elaine McChesney elalna.mcchesney@bingham.com
Darrell A.H. Miller dahmiller@vssp.com

John T. Montgomery Jmontgomery@ropesgray.com,
SamplePlead@ropesgray.com

Robert J. Muldoon simuldoon@sherin.com

Mary B, Murrane mary.murrane@bingham.com

Brien T, O'Connor beconnor@ropesgray.com,
SamplePlead@ropesgray.com

A. John Pappalardo pappalardoj@gtlaw.com

Richard D. Raskin traskin@sidley.com
Case 1:01-cv-12257-PBS Document 1772-6 Filed 10/12/05 Page 25 of 26

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Richard J. Riley RRiley@murphyriley.com
Philip D. Robben probben@kelleydrye.com

Douglas L. Rogers dirogers@vssp.com

Gary M Ronan gronan@goulstonstorrs.com

Daniel E. Rosenfeld drosenfeld@Ki.com

Kenneth A. Sansone Ksansone@goulstonstorrs.com
Thomas J. Sartory tsartory@goulstonsiorrs.com
Joseph R, Saver jsaveri@Ichb.com

Louls J. Scerra scarral@gtlaw.com

Andrew D. Schau adschau@pbwt.com, cbelanger@pbwt.com
William 8, Schneider will. schneider@doj.ca.gov

John D, Shakow jshakow@kslaw.com

Jonathan Shapiro jshapiro@sswg.com

Robert P. Sherman rsherman@nixonpeabody.com
Mark D Smith smith@laredosmith.com

Thomas M. Sobol heathere@hagens-berman.com
Charles L. Solomont car. solomont@bingham.com
Benjamin M. Stern benjarnin.stern@wilmerhale.com
Tina M. Tabacchi tmtabacchi@jonesday.com
Nicholas C. Theodorou ntheodor@foleyhoag.com
John R, Therien jtherien@ropesgray.com,
SamplePlead@ropesgray.com

Lyndon M. Tretter Lmtretter@hhiaw.com

Peter J. Venaglia venaglia@dmmslaw.com

Kennath A. Wexler kawexler@wexlerfirm.com
Pamela A. Zom pazom@sherin.com

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Jeffrey B. Aaronson
Bell, Boyd & Lloyd
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3 First National Plaza
70 West Madison Steet, Suite 3200
Chicago, IL 60602-4207

Gary L. Azorsky

Berger & Montague, PC
1622 Locust Street
Philadelphia, PA 19103

Steven F. Barley

Hogan & Hartson, LLP
111 South Calvert Street
Baltimore, MD 21202

Rebecca BedwellColl
Mascone, Emblidge & Quadra
180 Montgomery Street

1240

San Francisco, CA 94104

Mark A. Berman

Gibbons, Del Deo, Dolan, Griffinger & Vecchione, P.C,
One Riverfront Plaza

Newark, NJ 01702-5497

David J. Bershad

Milberg Weiss Bershad Hynes & Lerach LLP
One Pennsylvania Plaza

48th Floor

New York, NY 10119

Jack B. Blumenfeld

Morris, Nichols, Arsht, & Tunnell
1201 North Market Street
Wilmington, DE 19899-1347

Thomas L. Boeder

Perkins Cole

1201 Third Avenue, 40th Floor
Seattle, WA 98101-3099

Anthony Bolognese
Bolognese & Associates
Sulte 650

One Penn Center

1617 JFK Bivd.
Philadelphia, PA 19103

James J. Breen

Breen Law firm

3562 Old Milton Parkway
Alpharetta, GA 30005

Nicole Y. Brumsted
Lieff Cabraser Heimann & Bemstein, LLP
175 Federal Street, 7th Floor
